                                   UNITED STATES BANKRUPTCY COURT
                                    EASTERN DISTRICT OF MICHIGAN




IN RE:                                                                          CASE NO. 19-42734
PAMELA FUNCHES SMITH                                                            CHAPTER 13
       S.S.# XXX-XX-8766                                                        JUDGE THOMAS J. TUCKER
              Debtor
                                                                                             PLAN SUMMARY

                                                                                       For informational purposes only.

                                                                            ACP: 36 Months
                                                                            Minimum Plan Length: 60 Months
                                                                            Plan payment: $1,108.54 per bi-weekly
                     Debtor(s)                                              Minimum dividend to Class 9 Creditors   $0.00
__________________________________/                                         Percentage of Tax Refunds committed 100% of excess

                                                        CHAPTER 13 PLAN

                            [ xxx ] Original   OR       [ ] Pre-Confirmation Modification # _____

I.       NOTICES

TO CREDITORS: YOUR RIGHTS MAY BE AFFECTED BY THIS PLAN. THIS PLAN MAY BE CONFIRMED AND BECOME
BINDING WITHOUT FURTHER NOTICE OR HEARING UNLESS A TIMELY WRITTEN OBJECTION IS FILED. READ THIS
DOCUMENT CAREFULLY AND CONSIDER SEEKING THE ADVICE OF AN ATTORNEY.

          Debtor must check one box on each line to state whether or not the Plan includes each of the following items:
           A.       Nonstandard Provisions set out in Section IV. Under
                Federal Rule of Bankruptcy Procedure 3015(c), a
                “nonstandard provision” means a provision that is not              ; Included             Not included
                otherwise included in the approved form for a Chapter 13
                Plan in the Eastern District of Michigan.

           B.       A limit on the amount of a secured claim based on a
                                                                                      Included         ; Not included
                valuation of the collateral for the claim.


           C.   Avoidance of a security interest or lien.                             Included         ; Not included

     •      IF AN ITEM IS CHECKED AS “NOT INCLUDED” OR IF BOTH BOXES ARE CHECKED, THE PROVISION IS
     VOID EVEN IF OTHERWISE INCLUDED IN THE PLAN.

     •          ANY “NONSTANDARD PROVISION” THAT IS NOT SPECIFICALLY IDENTIFIED IN SECTION IV IS VOID.

     •       IF THIS SECTION I INDICATES THAT THIS PLAN DOES NOT INCLUDE ANY “NONSTANDARD
     PROVISIONS”, ANY “NONSTANDARD PROVISIONS” IN THIS PLAN (INCLUDING ANY OTHERWISE SPECIFICALLY
     LISTED IN SECTION IV) ARE VOID.

     THIS PLAN CONFORMS IN ALL RESPECTS TO THE MODEL PLAN, WHICH IS REFERENCED BY ADMINISTRATIVE
     ORDER 17-04 ISSUED BY THE U.S. BANKRUPTCY COURT FOR THE EASTERN DISTRICT OF MICHIGAN. THOSE
     SECTIONS OF THIS PLAN THAT VARY FROM THE MODEL PLAN ARE LISTED IN THIS PARAGRAPH (ANY
     ALTERATIONS NOT STATED IN THIS SECTION ARE VOID): II(B), II(C), III(E), V(A), V(D), V(F) LEVEL 2, V(G), V(H),
     V(X), V(Y), V(DD), ATTACHMENT 2



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THIS PLAN IS SUBJECT TO AND INCORPORATES BY REFERENCE THE ADDITIONAL STANDARD PROVISIONS WHICH
MAY BE FOUND AT WWW.13EDM.COM OR WWW.MIEB.USCOURTS.GOV OR FROM DEBTOR’S COUNSEL UPON
WRITTEN REQUEST.

II.   APPLICABLE COMMITMENT PERIOD; PLAN PAYMENTS; PLAN LENGTH; EFFECTIVE DATE AND ELIGIBILITY FOR
      DISCHARGE:

      A. □ Debtor’s Current Monthly Income exceeds the applicable State median income. Debtor’s Applicable Commitment
         Period is 60 months. Debtor’s Plan Length shall be 60 months from the date of entry of the Order Confirming Plan.

          ; Debtor’s Current Monthly Income is less than or equal to the applicable State median income. Debtor’s Applicable
          Commitment Period is 36 months. Debtor’s Plan Length shall be 36 months from the date of entry of the Order
          Confirming Plan. This is a minimum Plan length. If the Plan has not been completed in the minimum Plan length, the
          Plan length shall be extended as necessary for completion of the requirements of the Plan; provided that in no event
          will the Plan term continue beyond 60 months from the date of entry of the Order Confirming Plan. See Paragraph J of
          the Additional Terms, Conditions and Provisions for additional information regarding Completion of Plan.

          If neither or both of the above boxes is checked, then the Applicable Commitment Period and the Plan Length shall be
          60 months from the date of entry of the Order Confirming Plan.

      B. Debtor’s Plan payment amount is $1,108.54 per bi-weekly.

      C. Future Tax Refunds. See Paragraph A of the Additional Terms, Conditions and Provisions for additional information
         regarding Tax Refunds and Tax Returns.

          FOR CASES ASSIGNED TO BAY CITY DIVISION: Check only one box. If none are checked or more than one box is
          checked, paragraph 2 shall apply:

          1.   □ Debtor’s Plan proposes a 100% dividend to unsecured creditors. Therefore, debtor is not required to remit any
               future Tax Refunds.

          2.   □ Debtor’s Plan proposes less than a 100% dividend to unsecured creditors and debtor’s Schedule I does not
               include a pro-ration for anticipated Tax Refunds. Debtor will remit 50% of all Federal and State Tax Refunds that
               debtor receives or is entitled to receive after commencement of the case.

          3.   □ Debtor’s Plan proposes less than a 100% dividend to unsecured creditors and debtor’s Schedule I includes a
               pro-ration for anticipated Federal Tax Refunds. Debtor will remit 100% of all Federal and State Tax Refunds that
               debtor receives or is entitled to receive after commencement of the case to the extent the Refund exceeds the
               sum of twelve times the amount of the Federal and State Tax Refund pro-ration shown in Schedule I.




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         FOR CASES ASSIGNED TO DETROIT DIVISION: Check only one box. If none are checked or more than one box is
         checked, paragraph 2 shall apply:

         1.   □ Debtor’s Plan proposes a 100% dividend to unsecured creditors. Therefore, debtor is not required to remit any
              future Tax Refunds.

         2.   □ Debtor’s Plan proposes less than a 100% dividend to unsecured creditors and debtor’s Schedule I does not
              include a pro-ration for anticipated Tax Refunds. Debtor will remit 100% of all Federal Tax Refunds that debtor
              receives or is entitled to receive after commencement of the case.

         3.   ; Debtor’s Plan proposes less than a 100% dividend to unsecured creditors and debtor’s Schedule I includes a
              pro-ration for anticipated Federal Tax Refunds. Debtor will remit 100% of all Federal Tax Refunds that debtor
              receives or is entitled to receive after commencement of the case to the extent the Refund exceeds the sum of
              twelve times the amount of the Federal Tax Refund pro-ration shown in Schedule I.

         4.       Debtor(s) offer 0% Tax Refunds during the pendency of the Chapter 13 Plan.

         FOR CASES ASSIGNED TO FLINT DIVISION: Check only one box. If none are checked or more than one box is
            checked, paragraph 2 shall apply:

         1.   □ Debtor’s Plan proposes a 100% dividend to unsecured creditors. Therefore, debtor is not required to remit any
              future Tax Refunds.

         2.   □ Debtor’s Plan proposes less than a 100% dividend to unsecured creditors and debtor’s Schedule I does not
              include a pro-ration for anticipated Tax Refunds. Debtor will remit 100% of all Federal Tax Refunds that debtor
              receives or is entitled to receive after commencement of the case.

         3.   □ Debtor’s Plan proposes less than a 100% dividend to unsecured creditors and debtor’s Schedule I includes a
              pro-ration for anticipated Federal Tax Refunds. Debtor is not required to remit Federal Tax Refunds in excess of
              the amount of the proration shown on Schedule I.

    D. □ If the box to the immediate left is "checked", the debtor acknowledges that debtor is not eligible for a discharge
       pursuant to 11 USC §1328.

         □ If the box to the immediate left is "checked", the joint debtor acknowledges that joint debtor is not eligible for a
         discharge pursuant to 11 USC §1328.

    E.   □ If the box to the immediate left is "checked", the debtor or joint debtor is self-employed AND incurs trade credit in the
         production of income from such employment. Debtor shall comply with the requirements of Title 11, United States
         Code, and all applicable Local Bankruptcy Rules regarding operation of the business and duties imposed upon the
         debtor.

III. DESIGNATION AND TREATMENT OF CLASSES OF CLAIMS: See Paragraph F of the Additional Terms, Conditions and
     Provisions for additional information regarding the order in which claims are to be paid.

    A. CLASS ONE – TRUSTEE FEES as determined by statute.

    B. CLASS TWO – ADMINISTRATIVE CLAIMS, INCLUDING ATTORNEYS FEES AND COSTS:

         1. PRE-CONFIRMATION ATTORNEY FEES: At confirmation of the Plan, Counsel shall elect to either:
             a. In lieu of filing a separate fee application pursuant to 11 USC §327 and §330, accept the sum of $       for
                services rendered plus $_____ for costs advanced by Counsel, for total Attorney Fees and Costs of $______
                through the Effective Date of the Plan. The total Attorney Fees and Costs less the sum paid to Counsel prior
                to the commencement of this case as reflected in the Rule 2016(b) Statement leaving a net balance due of
                $________, will be paid as an Administrative Expense Claim; or



              b.    Request an award of compensation for services rendered and recovery of costs advanced by filing a
                    separate Application for Compensation for services rendered up through the date of entry of the Order


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                      Confirming Plan pursuant to 11 USC §327 and §330. If Counsel elects to file a fee application pursuant to
                      this sub-paragraph, the Trustee shall escrow $2,800.00 for this purpose. See Paragraph B of the Additional
                      Terms, Conditions and Provisions for additional information.

          2.    POST-CONFIRMATION ATTORNEY FEES: See Paragraph D of the Additional Terms, Conditions and
                Provisions for additional information.

          3.    RETENTION OF OTHER PROFESSIONALS FOR POST-PETITION SERVICES: Debtor □ has retained or □
                intends to retain the services of _____N/A___________(name of person to be retained) as __N/A______
                (capacity or purpose for retention) to perform professional services post-petition with fees and expenses of the
                professional to be paid as an Administrative Expense. See Paragraph C of the Additional Terms, Conditions and
                Provisions for additional information.

          4.    OTHER ADMINISTRATIVE EXPENSE CLAIMS: Any administrative expense claims approved by Order of Court
                pursuant to 11 USC §503 shall be paid as a Class Two administrative claim. See Paragraph E of the Additional
                Terms, Conditions and Provisions for additional information.


      C. CLASS THREE – SECURED CLAIMS TO BE STRIPPED OR AVOIDED FROM THE COLLATERAL AND TREATED
         AS UNSECURED CLAIMS TO BE PAID BY TRUSTEE. See Paragraph G and Paragraph N of the Additional Terms,
         Conditions and Provisions for additional information.

          Class 3.1 Liens to be Stripped. 11 USC §506(a).

                          Creditor                                                          Collateral
N/A




          Class 3.2 Judicial Liens and Non-Possessory, Non-Purchase Money Liens to be Avoided. 11 USC §522(f).

                          Creditor                                                          Collateral
N/A




      D. CLASS FOUR - SECURED CLAIMS ON WHICH THE LAST CONTRACTUAL PAYMENT IS DUE BEYOND THE
         LENGTH OF THE PLAN. 11 USC §1322(b)(5).

          Class 4.1 Continuing Payments on a claim secured by the debtor’s principal residence that come due on and
                    after the date of the Order for Relief. (See Paragraph P, Paragraph L and Paragraph EE of the
                    Additional Terms, Conditions and Provisions for additional information).

               Creditor                                 Collateral                         Monthly Payment          Direct or Via Trustee
                                          Residence – 34438 Fontana Dr., Sterling
           Mr. Cooper                                      Heights, MI                        $1,784.00                   Trustee
        Villa Fontana HOA                     Residence – 34438 Fontana Dr.                     $25.00                    Trustee

          Class 4.2 Pre-Petition Arrearages on a claim secured by the debtor’s principal residence to be paid by
                    Trustee: Those amounts which were due as of the filing of the Order for Relief:

                                                                                            Estimated Average       Months to Cure From
           Creditor                           Collateral                 Arrears Amount      Monthly Payment         Confirmation Date

          Mr. Cooper                 Residence 34438 Fontana Dr.           $17,759.22            $295.99                     60
      Villa Fontana HOA              Residence 34438 Fontana Dr            $1,300.00             $21.67                     60




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                      Class 4.3 Continuing Payments other than on a claim secured by the debtor’s principal residence that come
                                due on and after the date of the Order for Relief. (See Paragraph P, Paragraph L and Paragraph EE of
                                the Additional Terms, Conditions and Provisions for additional information).

                            Creditor                                         Collateral                           Monthly Payment              Direct or Via Trustee
                              N/A



                      Class 4.4 Pre-Petition Arrearages other than on a claim secured by the debtor’s principal residence to be
                                paid by Trustee: Those amounts which were due as of the filing of the Order for Relief:

                                                                                                                   Estimated Average           Months to Cure From
                       Creditor                               Collateral                    Arrears Amount          Monthly Payment             Confirmation Date
           N/A



                 E.   CLASS FIVE - SECURED CLAIMS ON WHICH THE LAST PAYMENT WILL BECOME DUE WITHIN THE PLAN
                      DURATION. (See Paragraph H, Paragraph L, Paragraph O and Paragraph S of the Additional Terms, Conditions and
                      Provisions for additional information).

                      Class 5.1 Secured Claims not excluded from 11 USC §506 to be paid Equal Monthly Payments.
                            11 USC §1325(a)(5)(B):


                                                                Interest
                                                                  rate
                                               Indicate if     (Present                                        Total to be       Direct or
                                             “crammed” or        Value         Monthly         Market         paid Including     Via
         Creditor/Collateral                    modified         Rate)         Payment         Value             Interest        Trustee
  N/A




            *** See debtor’s Schedule A/B for more information about values.



                      Class 5.2 Secured Claims not excluded from 11 USC §506 not to be paid Equal Monthly Payments.
                                11 USC §1325(a)(5)(B):



                                                             Interest
                                                               rate
                                           Indicate if       (Preset                                    Total to be paid
                                        “crammed “ or        Value         Monthly          Market         Including           Direct or Via
      Creditor/Collateral                   modified         Rate)         Payment          Value           Interest             Trustee
Capital One Auto
Finance/2017 Chevrolet                                                                                                     Direct &
Impala                                 N/A                   N/A           $441.00        $5,000.00     N/A                Current
            *** See debtor’s Schedule A/B for more information about values.




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                    Class 5.3 Secured claims excluded from 11 USC §506 by the “hanging paragraph” at the end of
                          11 USC §1325 (a)(9) to be paid “Equal Monthly Payments”. 11 USC §1325(a)(5)(B).


                                                      Interest
                                                        rate
                                                      (Preset                                Total to be paid
                                     Indicate if      Value      Monthly         Market         Including         Direct or Via
      Creditor/Collateral             modified        Rate)      Payment         Value           Interest           Trustee
N/A




                    Class 5.4 Secured claims excluded from 11 USC §506 by the “hanging paragraph” at the end of
                          11 USC §1325 (a)(9) not to be paid Equal Monthly Payments. 11 USC §1325(a)(5)(B).


                                                      Interest
                                                        rate
                                                      (Preset                                Total to be paid
                                     Indicate if      Value      Monthly         Market         Including         Direct or Via
      Creditor/Collateral             modified        Rate)      Payment         Value           Interest           Trustee
N/A




                    CLASS 5.5 Surrender of collateral. (See Paragraph P of the Additional Terms, Conditions and Provisions for
                              additional information).

         The debtor surrenders debtor’s interest in the following collateral. Any allowed unsecured claim remaining after disposition of the
         collateral will be treated as a Class 9 General Unsecured Creditor.

                       Creditor Name                                                        Description of Collateral
         Wells Fargo Dealer Services                       2013 Ford Explorer




              F.    CLASS SIX – EXECUTORY CONTRACTS AND/OR UNEXPIRED LEASES. 11 USC §§365, 1322(b)(7): Debtor
                    assumes the executory contracts and unexpired leases listed in subparagraph 1. (See Paragraph K of the
                    Additional Terms, Conditions and Provisions for additional information).

                    Class 6.1 Continuing Lease/Contract Payments:

                                                                                                 Monthly          Lease/Contract           Direct or
                        Creditor                                 Property                        Payment          expiration date         Via Trustee
        N/A




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           Class 6.2 Pre-petition Arrearages on Assumed Executory Contracts and Leases (to be paid by Trustee):

                                                                                                                         Months to
                                                                                              Estimated Average          Cure From
            Creditor                              Property               Arrears Amount        Monthly Payment        Confirmation Date
N/A                                  N/A                                N/A



           Class 6.3 Debtor rejects the executory contracts and unexpired leases listed in this subparagraph 3. Any
                     unexpired lease or executory contract that is neither expressly assumed in Class 6.1 above or
                     expressly rejected below shall be deemed rejected as of the date of confirmation of debtor’s
                     chapter 13 Plan to the same extent as if that unexpired lease or executory contract was listed
                     below. (See Paragraph K of the Additional Terms, Conditions and Provisions for additional information):

              Creditor                                                            Property
N/A



           G. CLASS SEVEN – PRIORITY UNSECURED CLAIMS. 11 USC §§507, 1322(a)(2).

           Class 7.1 Domestic Support Obligations: Continuing Payments that come due on and after the date of the
                     Order for Relief:

                             Creditor                               Monthly Payment                     Direct or Via Trustee
                               N/A




           Class 7.2 Domestic Support Obligations: Pre-Petition Arrearages due as of the filing of the Order for Relief:

                                                                                      Estimated Average Monthly          Direct or Via
                         Creditor                            Arrears Amount                   Payment                      Trustee
N/A



           Class 7.3 All Other Priority Unsecured Claims [11 USC §1322(a)(2)]

                 Creditor                                     Amount                                   Direct or via Trustee
N/A



      H. CLASS EIGHT – SEPARATELY CLASSIFIED UNSECURED CLAIMS. 11 USC §1322(b)(1): (To be paid by Trustee):
         (See Paragraph M of the Additional Terms, Conditions and Provisions for additional information):

                                               Interest
           Creditor                 Amount       Rate                            Reason for Special Treatment

 N/A

      I.       CLASS NINE - GENERAL UNSECURED CLAIMS (to be paid by Trustee): – See Paragraph N of the Additional
           Terms, Conditions and Provisions for additional information.

           ; This Plan shall provide a total sum for distribution to creditors holding Class 9 General Unsecured claims in an
             amount that is not less than the Amount Available in Chapter 7 shown on Attachment 1, Liquidation Analysis and
             Statement of Value of Encumbered Property (the “Unsecured Base Amount”). This Plan shall provide either (i)
             the Unsecured Base Amount; or (ii) will continue for the full Plan Length as indicated in Paragraph II.A of this


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             Plan, whichever yields the greater payment to Class 9 Unsecured Creditors. See Attachment 2, Chapter 13
             Model Worksheet, Line 8, for additional information concerning funds estimated to be available for payment to
             Class 9 Unsecured Creditors.

        □    This Plan shall provide a dividend to holders of Class 9 General Unsecured Claims equal to 100% of allowed
             claims.

        If neither box is checked or if both boxes are checked, then the Plan shall pay the Unsecured Base Amount.

             □ If the box to the immediate left is "checked", creditors holding claims in Class Seven, Eight and Nine shall
             receive interest on their allowed claims at the rate of ____% per annum as required by 11 USC §1325(a)(4).

IV. Nonstandard Plan Provisions:

        • ANY “NONSTANDARD PROVISION” THAT IS NOT BOTH INCLUDED IN SECTION 1.A AND SPECIFICALLY
                STATED IN THIS SECTION IS VOID.


        A. Change to Section II(B) allows for weekly, bi-weekly, semi-monthly or monthly plan payment options.
        B. Change to Section II(C) adds fourth option of offering 0% tax refunds during the pendency of the plan.
        C. Change to Section III(E) sections 5.1 through 5.4 adds two columns “Total of claim to be paid” and “Market
           Value.”
        D. Change to Section V(A) adds language “unless Otherwise directed by Order of the Court” at the end of the first
           paragraph.
        E. Changes to Section V(D) deletes the language starting with “upon entry of . . .” through “. . .the parties of
           interest.”

        F.   Changes to Section V(F) add the language to Level 2: “To the extent of amount relating to equal monthly
             installments due after confirmation Pursuant to Class 5.1 (E.1), 5.3 (E.3) and 6.1 (F.1) – See V (H).”

        G. Changes to Section V(G) adds language to the end of the section: “Debtor shall not be required to file an
           adversary proceeding to determine the extent of a wholly unsecured lien.”

        H. Changes to Section V(H) adds language after the first sentence “…each disbursement; after confirmation of the
           Plan.”

        I.   Changes to Section V(S) adds language to paragraph (1): “Subject to Section V(H)”; adds language to the end of
             paragraph 1 and 3: “See also Paragraph G of the Additional Terms, Conditions and Provisions for additional
             information concerning payments to be made on these claims.”

        J.   Changes to Section V(U) changes the cure date to 21 days from 10 days.

        K.   Changes to Section V(X) deletes: “will be determined as if the Petition was filed on the date of conversion. The
             date of the Order converting this case to one under Chapter 7 will be treated as the date of the Order For Relief
             and all applicable deadlines shall be determined as if the post-conversion Meeting of Creditors pursuant to 11
             USC §341 was the initial Meeting of Creditors” and adds: “will be determined pursuant to 11 U.S.C.§1307 and 11
             U.S.C.§348, and F.R.Bank.P. 1019.”

        L.   Changes to Section V(Y) adds the language at the end of the section: “unless otherwise ordered by the Court.”

        M. Changes to Section V(DD) adds the language: “This provision will not serve as res judicata or collateral estoppel
           as it relates to the Debtors rights to sever the case after confirmation of the Plan, by motion, notice and hearing to
           the Court.”
        N. Attachment 2 (Worksheet) changes are an additional line for Estimated Pre-Confirmation payments and other.




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         I, William R. Orlow, Attorney for debtor (or debtor if not represented by an attorney), certify that this Plan contains no
         “Nonstandard Provisions” other than those set out in Section IV above.



/s/ William R. Orlow                                                       /s/ PAMELA FUNCHES SMITH
B.O.C. Law Group, PC                                                       Debtor – PAMELA FUNCHES SMITH
William R. Orlow P41634
Attorney for Debtor
24100 Woodward Avenue, Suite B
Street Address
Pleasant Ridge, Michigan 48069
City, State and Zip Code                                                   Joint Debtor
bocecf@boclaw.com
E-Mail Address
248-584-2100
Phone Number                                                               Date April 15, 2019




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                                                                 ATTACHMENT 1

            LIQUIDATION ANALYSIS AND STATEMENT OF VALUE OF ENCUMBERED PROPERTY:

                                                                                                     DEBTOR'S
                                              FAIR MARKET                                            SHARE OF                       EXEMPT              NON-EXEMPT
     TYPE OF PROPERTY                            VALUE                        LIENS                   EQUITY                        AMOUNT                AMOUNT
   PERSONAL RESIDENCE
34438 FONTANA DR, STERLING                          $275,800.00            $251,604.62                     $11,447.69                   $12,281.18             $0.00
       HGTS, MI 48312
 REAL ESTATE OTHER THAN
                                                                N/A                     N/A                           N/A                         N/A           N/A
   PERSONAL RESIDENCE
  HHG/PERSONAL EFFECTS                                 $6,850.00                     $0.00                   $6,850.00                    $6,850.00            $0.00

         JEWELRY                                       $1,100.00                     $0.00                   $1,100.00                    $1,000.00            $0.00
  CASH/BANK ACCOUNTS
         USAA                                          $1,628.74                     $0.00                   $1,628.74                    $1,628.74            $0.00
     Chase Checking                                    $9,672.08                     $0.00                   $9,672.08                    $9,672.08            $0.00
         VEHICLES
    2017 Chevrolet Impala                              $5,000.00             $15,413.00                      $5,000.00                    $3,775.00            $0.00
     2013 Ford Explorer                                $1,000.00             $15,413.00                      $1,000.00                        $0.00            $0.00
      OTHER (itemize)                                  $5,297.66                     $0.00                   $5,297.66                    $5,297.66            $0.00
            HSA
      OTHER (itemize)                                $11,669.38                      $0.00                 $11,669.38                   $11,669.38             $0.00
           401(k)
      OTHER (itemize)                                  $1,283.00                     $0.00                   $1,283.00                    $1,283.00            $0.00
        Tax Refunds


               Amount available upon liquidation .................................................................................. $                         0.00

               Less administrative expenses and costs......................................................................... $                              0.00

               Less priority claims.......................................................................................................... $               0.00

               Amount Available in Chapter 7 ....................................................................................... $                        0.00




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                                                            ATTACHMENT 2

                                              CHAPTER 13 MODEL WORKSHEET
                                          LOCAL BANKRUPTCY RULE 3015-1(B)(2) E.D.M.

1.         Proposed length of Plan:       60 months

2.         Initial Plan payment:
           $1,108.54 per bi-weekly x 130 bi-weekly =                       $144,111.00   (subtotal)

           Step payment #1
           $__________ per month x ________ months =                       $_________    (subtotal)

           Step payment #2
           $__________ per month x ________ months =                       $_________    (subtotal)

3.         Additional payments: $_______ per _______=                      $________     (subtotal)

4.         Lump sum payments                                     =         $_________    (subtotal)

5.         Estimated Pre-Confirmation Payments                   =         $ 4,800.00    (subtotal)

6.         Total to be paid into Plan (total of lines 2 through 4)                                    $148,911.00

7.         Estimated disbursements other than to Class 9 General Unsecured Creditors

      a.   Estimated Trustee Fees                                           $10,460.00

      b.   Estimated Attorney Fees and costs
           through confirmation of Plan                                     $2,800.00

      c.   Estimated Attorney Fees and costs
           post-confirmation through duration of Plan                       $2,200.00

      d.   Estimated fees of other Professionals                            $0.00____

      e.   Total mortgage and other
           continuing secured debt payments                                 $112,392.00 (Includes GAP)

      f.   Total non-continuing secured
           debt payments (including interest)                               $0.00___

      g.   Total priority claims                                            $0.00____

      h.   Total arrearage claims                                           $19,059.22

      i.   Other__________                                                  $0.00____

8.         Total disbursements other than to Class 9 General Unsecured Creditors
           (Total of lines 6.a through 6.h)                                                           $146,911.00

9.         Funds estimated to be available for Class 9 General Unsecured Creditors
           (Line 5 minus Line 7)                                                                      $2,000.00

10.        Estimated dividend to Class 9 General Unsecured Creditors
           in Chapter 7 proceeding (see Liquidation Analysis)                                         $0.00___

Comments:




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                                          V. ADDITIONAL STANDARD PROVISIONS

                          THE FOLLOWING STANDARD PROVISIONS ARE APPLICABLE TO ALL
                           PLANS AND PRE-CONFIRMATION MODIFIED PLANS FILED ON OR
                           AFTER DECEMBER 1, 2017, IN THE UNITED STATES BANKRUPTCY
                                 COURT FOR THE EASTERN DISTRICT OF MICHIGAN


A.       DEBTOR’S OBLIGATION TO REMIT TAX REFUNDS: Debtor shall not alter any withholding deductions/exemptions
         without Court approval. If the Internal Revenue Service or any State taxing authority remits to the Trustee any sum
         which the debtor is not required to remit pursuant to this Plan, then upon written request of the debtor and concurrence
         of the Trustee, the Trustee shall be authorized to refund those sums to the debtor from funds first available without
         further motion, notice or Order of Court. The Trustee shall not be required to recoup or recover funds disbursed to
         creditors prior to receipt of the debtor’s written request; unless otherwise directed by Order of the Court.
         If debtor is married and debtor’s spouse is not a joint-debtor in this case, debtor’s Tax Refund(s) for any calendar year
         shall be 50% of the aggregate net Tax Refunds received by debtor and debtor’s non-filing spouse, regardless of
         whether debtor and spouse file a joint tax return or file separate tax returns.
B.       ALLOWANCE AND PAYMENT OF PRE-CONFIRMATION ATTORNEY FEES: If Class 2.1 of the Plan indicates that
         Counsel intends to file a Separate Application for compensation for services rendered up through the date of entry of
         the Order Confirming Plan pursuant to 11 USC §327 and §330, the Trustee shall withhold the amount designated in
         Class 2.1 from funds remaining after payment of claims required to be paid prior to attorney fees pending further Order
         of Court.
C.       RETENTION AND COMPENSATION OF OTHER PROFESSIONALS FOR POST-PETITION PRE-CONFIRMATION
         SERVICES: If Class 2.3 indicates that debtor has retained or intends to retain the services of any Professional (as
         that term is defined in 11 USC §327) to perform professional services after the commencement of this case, debtor will
         file a timely Application to Employ Professional Person stating the identity of the person to be retained and the capacity
         or purpose for retention, accompanied by a Certification of Disinterestedness signed by the Professional and obtain
         Court permission to retain the Professional. The Professional may seek compensation in an amount not to exceed
         $400.00 by filing a Proof of Claim designated as an Administrative Expense without further notice, hearing or Order of
         Court. If the Professional seeks compensation in excess of $400.00, the Professional shall file an Application for
         Compensation for services rendered pursuant to 11 USC §327.
D.       POST-CONFIRMATION ATTORNEY FEES & COSTS BY SEPARATE APPLICATION: Counsel reserves the right to
         file Applications for compensation for services rendered subsequent to the Confirmation of this Plan.


E.       PAYMENT OF ADMINISTRATIVE EXPENSE CLAIMS: Administrative Expense Claims as defined in 11 USC §503,
         other than those claims provided for in Paragraphs B, C and D of these Additional Terms, Conditions and Provisions,
         will be deemed allowed and will be paid only upon entry of a specific Order of this Court determining the allowance and
         amount of that claim.
F.       ORDER OF PAYMENT OF CLAIMS: All claims for which this Plan proposes payment through the Trustee shall be
         paid in the following order to the extent that funds are available:
                   Level 1:   Class 1
                   Level 2: Class 5.1, 5.3 and 6.1 To the extent of amount relating to equal monthly installments due after
                            confirmation Pursuant to Class 5.1 (E.1), 5.3 (E.3) and 6.1 (F.1) – See V (H).
                   Level 3:   Class 2.1 and 2.3
                   Level 4:   Class 2.2 and 2.4
                   Level 5:   Classes 4.1 and 4.3
                   Level 6:   Classes 4.2, 4.4, 5.2, 5.4 and 6.2
                   Level 7:   Class 7
                   Level 8:   Classes 3.1, 3.2, 5.5, 6.3, 8 and 9.
         Each level shall be paid as provided in this Plan before any disbursements are made to any subordinate class. If there
         are not sufficient funds to pay all claims within a level, then the claims in that level shall be paid pro rata.
G.       SECURED CLAIMS TO BE STRIPPED OR AVOIDED FROM THE COLLATERAL AND TREATED AS
         UNSECURED: Claims for which the creditor holds a lien that is listed as “Stripped” in Class 3.1 or “Avoided” in Class
         3.2 are avoided and will be paid as a General Unsecured Creditor as provided in Class 9 of the Plan. Upon completion
         of the Plan, the creditor will record a Satisfaction of the Lien in the applicable Public Records to discharge and release


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         the lien. If the creditor fails to do so, the debtor may file a motion for an order declaring that the lien has been satisfied
         by completion of the confirmed Plan, which the debtor may then have certified and recorded in the applicable Public
         Records. Debtor shall not be required to file an adversary proceeding to determine the extent of a wholly unsecured
         lien.
H.       CLASS 5.1, CLASS 5.3 AND CLASS 6.1 CREDITORS SPECIFIED TO RECEIVE EQUAL MONTHLY PAYMENTS:
         Creditors identified in Class 5.1, Class 5.3, and Class 6.1 will receive Equal Monthly Payments to the extent funds are
         available at the date of each disbursement; after confirmation of the Plan. If more than one creditor is scheduled in
         Class 5.1, Class 5.3, and Class 6.1 and the funds available in any disbursement are insufficient to pay the full Equal
         Monthly Payments to all of the listed creditors, payments shall be made on a pro rata basis determined by the ratio of
         the Equal Monthly Payment specified to each creditor to the total amount of Equal Monthly Payments to all creditors
         scheduled in Class 5.1, Class 5.3, and Class 6.1. The amount of the Equal Monthly Payment to any creditor shall be
         the amount stated in Class 5.1, Class 5.3, and Class 6.1 as may be applicable and the amount of the Equal Monthly
         Payment specified in the Plan will supersede any monthly payment amount specified in a Proof of Claim at variance
         with the Equal Monthly Payment amount set forth in the Plan unless otherwise Ordered by the Court.
         The monthly post-confirmation disbursement to any creditor designated in Class 5.1, Class 5.3, and Class 6.1 will not
         exceed the Equal Monthly Payment amount for that creditor for the month in which disbursement is being made plus
         any previously unpaid Equal Monthly Payments accruing before the date of disbursement.
I.       APPLICATION OF DISBURSEMENTS BY CREDITORS: Creditors shall apply all disbursements under the Plan only
         in the manner consistent with the terms of the Plan and to the account(s) or obligation(s) as designated on the voucher
         or check provided to the Creditor with each disbursement.
J.       COMPLETION OF PLAN: For purposes of 11 USC §1328, the debtor shall be deemed to have completed all
         payments under the Plan:
              1.   Upon the expiration of the Plan Length as defined in Paragraph II.A of the Plan commencing on the date of
                   entry of the Order Confirming Plan; and
              2.   Debtor has remitted all Plan payments (as defined in Paragraph II.A and II.B of the Plan) coming due after
                   the date of entry of the Order Confirming Plan; and
              3.   Debtor has remitted all Federal Income Tax Refunds as required by Paragraph II.C of the Plan and
                   Paragraph A of these Additional Terms, Conditions and Provisions; and
              4.   Debtor has remitted a sum sufficient to pay all allowed claims as amended and/or supplemented as provided
                   in the Plan.
K.       EXECUTORY CONTRACTS AND/OR UNEXPIRED LEASES:
              1.   Any executory contract or unexpired lease not expressly assumed in Class 6.1 or in the Order Confirming
                   Plan shall be deemed rejected effective as of the Effective Date of this Plan.
              2.   Upon rejection of any Executory Contract or Unexpired Lease, the property and debtor’s interest in the
                   rejected executory contract or unexpired lease will no longer be property of the estate and the stay under 11
                   USC §362(a) and the co-debtor stay under 11 USC §1301 shall automatically terminate as to such property.
                   Any claims arising from the rejection of an executory contract or unexpired lease shall be treated as a
                   general unsecured claim in Class Nine, subject to further Order of Court.
              3.   For all assumed executory contracts and unexpired leases, confirmation of this Plan shall constitute a finding
                   that this Plan complies with all requirements for assumption of the executory contracts and unexpired leases
                   being assumed, including all requirements set forth in 11 USC §365(b).
              4.   Upon the termination of the Lease (whether as a result of the expiration of the contractual lease term,
                   repossession of the property which is the subject of the Lease, or otherwise), the Lessor shall have the right
                   to file a Supplemental Claim for any damages or charges permitted under or pursuant to the Lease.
              5.   If Class 6.1 provides for the Continuing Lease/Contract Payments to be made by the Trustee, the
                   Supplemental Claim as filed and allowed shall be paid by the Trustee over the remaining term of the Plan.
              6.   If Class 6.1 provides for the Continuing Lease Payments to be made directly by the debtor to the Lessor, the
                   Supplemental Claim as filed and allowed shall be paid directly by the debtor to the creditor over the
                   remaining term of the Plan. If there is a balance outstanding on the supplemental claim as of the completion
                   of debtor’s confirmed Chapter 13 Plan, this balance shall not prevent or preclude the entry of a discharge in
                   this case; instead, this balance shall be deemed non-dischargeable and debtor shall be responsible for
                   payment of the remaining balance of the Supplemental Claim following the entry of a Discharge.
L.       SECURED CLAIMS – POST-PETITION FEES, COSTS AND CHARGES:


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              1.   Any Supplement to Claim that is filed with the Court as to which there is no objection filed or as to which any
                   objection has been overruled, shall be deemed allowed.
              2.   If Class 4.1, 4.3, 5.1, 5.2, 5.3 or 5.4 provides for the Creditor’s Secured Claim to be paid by the Trustee, the
                   Supplement to Claim as filed and allowed shall be paid by the Trustee over the remaining term of the Plan.
              3.   If Class 4.1, 4.3, 5.1, 5.2, 5.3 or 5.4 provides for the Creditor’s Secured Claim to be paid directly by the
                   debtor to the creditor, the Supplement to Claim as filed and allowed shall be paid directly by the debtor to the
                   creditor before completion of the Plan. If there is a balance outstanding on the Supplement to Claim as of the
                   completion of debtor’s confirmed Chapter 13 Plan, this balance shall not prevent or preclude the entry of a
                   discharge in this case; instead, any unpaid balance shall be non-dischargeable.
M.       SEPARATELY CLASSIFIED UNSECURED CLAIMS: Claims classified as “Separately Classified Unsecured Claims”
         are unsecured claims that qualify for discriminatory and preferred treatment pursuant to 11 USC §1322(b)(1). The
         basis for separate classification is specified in Paragraph III.H of the Plan. Each Separately Classified Unsecured
         Claims shall receive payments that total 100% of the allowed amount of the claim plus interest if specified in Class
         Eight of the Plan. See also Paragraph F of the Additional Terms, Conditions and Provisions for additional information
         concerning the timing of payments to be made on these claims.
N.       GENERAL UNSECURED CREDITORS: Unless Class 9 of the Plan provides a dividend to holders of General
         Unsecured Claims equal to 100% of allowed claims, the Plan shall produce a total sum for distribution to General
         Unsecured Creditors (the “Unsecured Base Amount”). The Unsecured Base Amount shall be not less than the
         aggregate amount which creditors in this class would have received had the estate of the debtor been liquidated under
         Chapter 7 of Title 11, United States Code. See 11 USC §1325(a)(4). Each holder of a duly filed and allowed General
         Unsecured Claim shall receive the holder’s pro rata share of the Unsecured Base Amount, based on the creditor’s
         claim as a fraction of the total General Unsecured Claims duly filed and allowed. The pro rata dividend for each holder
         of an allowed unsecured claim will be calculated by the Trustee upon review of allowed claims.
         This Plan shall provide either the total Unsecured Base Amount or shall continue for the Plan Length as stated in
         Paragraph II.A of the Plan, whichever will offer the greater dividend to general unsecured creditors.
O.       VESTING, POSSESSION OF ESTATE PROPERTY AND LIEN RETENTION: Upon the Effective Date of the Plan, all
         property of the estate shall vest in the debtor and shall cease to be property of the estate. The debtor shall remain in
         possession of all property during the pendency of this case unless specifically provided herein, and shall not seek to
         sell, transfer or otherwise dispose of such property (except in the ordinary course of debtor’s business) without prior
         Court approval.
P.       SURRENDER OF COLLATERAL: Those claims that are treated pursuant to 11 USC §1325(a)(5)(C) (surrender of
         collateral) are so designated in Class 5.5 of the Plan. Upon confirmation, the Automatic Stay and co-debtor Stay is
         lifted as to the collateral and any creditor holding a lien on the collateral and the collateral shall no longer constitute
         property of the estate. No disbursements shall be made by the Trustee to any creditor whose claim is secured by the
         collateral being surrendered unless the holder of such claim files a Proof of Claim (or Amended Proof of Claim) after
         the Effective Date of the Plan setting forth the amount of any deficiency remaining after disposition of the collateral.
         Any allowed deficiency claim shall be paid as a general unsecured claim in Class 9 of the Plan. See Federal Rule of
         Bankruptcy Procedure 3002.1.
Q.       PROHIBITION AGAINST INCURRING POST-PETITION DEBT: While this case is pending, the debtor shall not incur
         a debt in excess of $2,000.00 without first obtaining approval of either this Court or of the Chapter 13 Trustee. If the
         Chapter 13 Trustee stipulates to entry of an Order allowing debtor to incur post-petition debt, debtor shall be permitted
         to file the Stipulation signed by the Trustee and to submit an Order to the Court on an ex parte basis without notice to
         creditors or other parties in interest.
R.       UNSCHEDULED CLAIMS: If an unscheduled proof of claim is filed, the Trustee is authorized to exercise sole
         discretion to classify the claim into one of the existing classes under this Plan and to schedule the claim for payment
         within that class, without prejudice to debtor’s right to object to the allowance of the claim and/or to modify the Plan to
         provide a different treatment.
S.       PROOFS OF CLAIM FILED AT VARIANCE WITH THE PLAN: In the event that a Proof of Claim is filed and allowed
         that is at variance with the provisions of this Plan, the following method is to be employed to resolve the conflict:
         1.        Subject to Section V(H), Regarding claims for which the Plan does not propose a "cramdown" or
                   modification, the Proof of Claim shall supersede the Plan as to the claim amount, percentage rate of interest,
                   monthly payments, valuation of collateral and classification of the claim. See also Paragraph G of the
                   Additional Terms, Conditions and Provisions for additional information concerning payments to be made on
                   these claims.
         2.        As to claims for which the Plan proposes a "cramdown" or modification, the Proof of Claim governs only as to


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                   the claim amount. The Plan governs valuation, interest rate and any other contractual term.
         3.        If a Proof of Claim is filed that is at variance with this Plan or related schedules, the Trustee shall
                   automatically treat that claim as the holder indicated, unless provided otherwise in the confirmed Plan; these
                   Additional Terms, Conditions and Provisions; or by Order of Court. See also Paragraph G of the Additional
                   Terms, Conditions and Provisions for additional information concerning payments to be made on these
                   claims.
         4.        As to claims specified in Class 3.1 or Class 3.2 (Secured Claims to be Stripped or Avoided), the Proof of
                   Claim shall control only as to the allowed amount of the claim. See also Paragraph G of the Additional
                   Terms, Conditions and Provisions for additional information concerning payments to be made on these
                   claims.
T.       TAX RETURNS AND TAX SET-OFFS: All Tax Returns which have become due prior to the filing of the Plan have
         been filed. The Internal Revenue Service and the United States Department of Treasury are prohibited from setting
         off against post-petition Tax Refunds for payment of pre-petition tax obligations.
U.       DEBTOR DUTY TO MAINTAIN INSURANCE – REMEDY FOR FAILURE TO MAINTAIN INSURANCE: Debtor shall
         maintain all insurance required by law and contract upon property of the estate and the debtor's property. After
         confirmation of this Plan, if the debtor fails to maintain insurance as required by law or contract, any party in interest
         may submit a notice of default, served on debtor, debtor’s counsel and the Chapter 13 Trustee, permitting 21 days
         from service of the notice in which to cure the default. If the default is not cured within the time permitted, the party in
         interest may submit an Order Granting Relief from the Automatic Stay as to the collateral to the Court along with an
         affidavit attesting to the debtor’s failure to cure, and the Stay may thereafter be lifted without further motion, notice or
         hearing.
V.       SECURED CREDITORS, LESSORS AND PARTIES TO EXECUTORY CONTRACTS UPON ENTRY OF ORDER
         LIFTING AUTOMATIC STAY: Any secured creditor and any party to an assumed executory contract or unexpired
         lease as to whom the Automatic Stay is lifted shall not receive any further disbursements until a Proof of Claim for the
         balance remaining after liquidation of the collateral is filed.
W.       PROVIDING FUTURE TAX RETURNS TO TRUSTEE: Debtor shall timely file each Federal Income Tax Return
         required to be filed under applicable law during the pendency of this case, and shall provide to the Trustee a copy of
         each Return at the same time the Return is filed with the taxing authority.
X.       DEADLINES IN EVENT OF CONVERSION: In the event of conversion of this case to a case under Chapter 7 of the
         United States Bankruptcy Code, the rights of the Chapter 7 Trustee and all creditors (including but not limited to the
         right to object to exemptions and the right to object to discharge pursuant to 11 USC §727 and/or dischargeability
         pursuant to 11 USC §523) will be determined pursuant to 11 U.S.C.§1307 and 11 U.S.C.§348, and F.R.Bank.P. 1019.
Y.       OBJECTIONS TO PROOFS OF CLAIM: Any party in interest shall have the right to object to Proofs of Claim.
         Confirmation of this Plan shall not constitute a waiver of any objection and shall not constitute or have any res judicata
         or collateral estoppel effect on or against any objection to Proof of Claim. If any objection to Proof of Claim is filed and
         sustained, in whole or in part, after the Trustee has begun making disbursements under this Plan as confirmed,
         Trustee shall have no obligation or duty to recoup any payments or disbursements made to the creditor whose Proof of
         Claim was the subject of the objection; unless otherwise ordered by the Court.
Z.       CREDITOR’S AUTHORIZATION TO CONTACT DEBTOR: Notwithstanding the provisions of the Automatic Stay and
         co-debtor Stay, creditors holding claims in Classes 4 and 5 for which the debtor proposes to retain the collateral and
         parties to any assumed unexpired lease or executory contract in Class 6 may contact debtor for purposes of sending
         periodic statements and annual or periodic summaries of accounts including but not limited to account reconciliations
         pursuant to the Real Estate Settlement Procedures Act.
AA.      IDENTITY OF DISBURSING AGENT: All claims in all classes of creditors shall be paid by the Trustee as Disbursing
         Agent except those claims which are specified to be paid directly by either the debtor or a third party, in which event
         the debtor or third party making those payments shall be the Disbursing Agent for those claims.
BB.      SPECIAL PROVISIONS APPLICABLE TO GOVERNMENTAL UNITS RESPONSIBLE FOR ENFORCING
         DOMESTIC SUPPORT OBLIGATIONS: Notwithstanding the provisions of 11 USC §362 and §1327, the Automatic
         Stay is modified to permit any governmental unit or agency responsible for enforcing a domestic support obligation to
         send notices, to take other actions to the extent not inconsistent with the terms of the Plan, and to collect domestic
         support obligations from property that is not property of the estate.
CC.      PRE- AND POST-PETITION LITIGATION AND CAUSES OF ACTION: Debtor and the Chapter 13 Trustee shall have
         concurrent standing to prosecute all Pre- and Post-Petition causes of action, including but not limited to actions arising
         under Title 11, United States Code. Any compromise or settlement of any litigation or cause of action shall be subject
         to the provisions of Federal Rule of Bankruptcy Procedure 9019. Any proceeds or damages recovered by or on behalf


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      of the debtor shall be retained pending Order of the Bankruptcy Court.
DD.   SUBSTANTIVE CONSOLIDATION OF JOINTLY FILED CASES: If this case has been filed jointly by a husband and
      wife pursuant to 11 USC §302, entry of an Order Confirming Plan shall also constitute an Order for Substantive
      Consolidation of the debtors. This provision will not serve as res judicata or collateral estoppel as it relates to the
      Debtors rights to sever the case after confirmation of the Plan, by motion, notice and hearing to the Court.
EE.   NON-APPLICABILITY OF FEDERAL RULE OF BANKRUPTCY PROCEDURE 3002.1: The requirements and
      provisions of Federal Rule of Bankruptcy Procedure 3002.1 shall not apply to any property that the Plan as confirmed
      surrenders to the Creditor as provided in 11 USC §1325(a)(5)(C); or to any property as to which the Automatic Stay is
      lifted for purposes of allowing the secured creditor to exercise rights and remedies pursuant to applicable State Law,
      regardless of whether the Order Lifting Automatic Stay is entered before or after entry of an Order Confirming the Plan.
FF.   TIME TO CURE PARAMOUNT: For any class of claims where the Months to Cure From Confirmation Date may be
      specified, if the Plan does not specify the number of months to cure, the Months to Cure From Confirmation Date shall
      be the Plan Length specified in Paragraph II.A of the Plan. For any class of claims or creditors for which the Plan
      specifies an Estimated Average Monthly Payment that is inconsistent with or contradicts the Months to Cure From
      Confirmation Date, the Months to Cure From Confirmation Date controls. The Chapter 13 Trustee is authorized to
      make any changes to the amount of disbursements to the creditor to implement this provision.
GG.   SECURED CLAIMS EXCLUDED FROM 11 USC § 506 BY THE “HANGING PARAGRAPH” AT THE END OF 11
      USC §1325 (a)(9): Claims treated in Class 5.3 or Class 5.4 are claims that were either (1) incurred within 910 days
      before the petition date and secured by a purchase money security interest in a motor vehicle acquired for the personal
      use of the debtor, or (2) incurred within 1 year of the petition date and secured by a purchase money security interest
      in any other thing of value.




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